        Case 4:19-cv-00403-O Document 4 Filed 05/16/19                       Page 1 of 6 PageID 13

AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

                  Borougerdi                           )
                     Plaintiff                         )
                       v.                              )    Civil Action No. 4:19-cv-00403-O
                                                       )
                                                       )
       The United States of America                    )
                     Defendant                         )

                                      Summons in a Civil Action

TO: The United States of America


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

     Daniel Christensen
     3410 Far West Blvd
     Suite 235
     Austin , TX 78731

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 05/16/2019
                                                                Signature of Clerk or Deputy Clerk
                   Case 4:19-cv-00403-O Document 4 Filed 05/16/19                              Page 2 of 6 PageID 14
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 4:19-cv-00403-O


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
            Case 4:19-cv-00403-O Document 4 Filed 05/16/19                         Page 3 of 6 PageID 15
AO 440 (Rev. 12/09) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                            for the
                                                   Northern District of Texas

                     Borougerdi                                )
                        Plaintiff                              )
                          v.                                   )     Civil Action No. 4:19-cv-00403-O
                                                               )
                                                               )
          The United States of America                         )
                        Defendant                              )

                                                Summons in a Civil Action

TO: The United States of America

These copies of the summons and complaint are to be either:
 (1) delivered to the United States Attorney for the Northern District of Texas or to an assistant United
     States attorney or clerical employee whom the United States Attorney has designated in writing
     filed with the Clerk of the United States District Court for the Northern District of Texas;
                                                     or
 (2) send by registered or certified mail to the civil-process clerk at the Office of the United States
     Attorney for the Northern District of Texas ( 801 Cherry Street, Suite 1700,Fort Worth, TX
     76102-6897)

A lawsuit has been filed against you.

     Within 21 days after service of this summons on you (not counting the day you received it) -- or
60 days if you are the United States or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:

     Daniel Christensen
     3410 Far West Blvd
     Suite 235
     Austin , TX 78731

      If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT



DATE: 05/16/2019
                                                                                Signature of Clerk or Deputy Clerk
                   Case 4:19-cv-00403-O Document 4 Filed 05/16/19                              Page 4 of 6 PageID 16
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 4:19-cv-00403-O


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
           Case 4:19-cv-00403-O Document 4 Filed 05/16/19                          Page 5 of 6 PageID 17
AO 440 (Rev. 12/09) Summons in a Civil Action


                                   UNITED STATES DISTRICT COURT
                                                         for the
                                                Northern District of Texas

                    Borougerdi                              )
                       Plaintiff                            )
                         v.                                 )     Civil Action No. 4:19-cv-00403-O
                                                            )
                                                            )
         The United States of America                       )
                       Defendant                            )

                                           Summons in a Civil Action


TO: The United States of America

(These copies of the summons and complaint are to be sent by registered or certified mail to the
Attorney General of the United States at 950 Pennsylvania Avenue, NW, Washington, DC
20530-0001.)

A lawsuit has been filed against you.

     Within 21 days after service of this summons on you (not counting the day you received it) --
or 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
name and address are:

     Daniel Christensen
     3410 Far West Blvd
     Suite 235
     Austin , TX 78731

       If you fail to respond, judgment by default will be entered against you for the relief demanded
in the complaint. You also must file your answer or motion with the court.




                                                                         CLERK OF COURT



DATE: 05/16/2019
                                                                             Signature of Clerk or Deputy Clerk
                   Case 4:19-cv-00403-O Document 4 Filed 05/16/19                              Page 6 of 6 PageID 18
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 4:19-cv-00403-O


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
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              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
